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      Liquor, Servall Market Inc., Cardiff Gas, Inc., Hillcrest
 10   Smoke Shop, Ban & Rami Inc. dba Magic Market,
      Point Loma Liquor, Inc., Kalyana, Inc. dba Farmers
 11   Liquor Store, Little Brown Jug Liquor, HH Eagles
      Market, Bel Air Market, F&F Food Bargain, Inc. dba
 12   Food Bargain Market, Sunset Mini Mart, Inc., Midway
      Cigars & Smoke Shop, Midway M3, Inc. dba Shell
 13   Gas Station, Greene Cat Liquors, Criscola’s Liquor
      Store; and Third-Party Plaintiffs NMRM, Inc.
 14   and Skyline Market, Inc.
 15
                           UNITED STATES DISTRICT COURT
 16
                         SOUTHERN DISTRICT OF CALIFORNIA
 17

 18
      IN RE: OUTLAW LABORATORIES,                    Case No. 3:18-cv-840-GPC-BGS
 19   LP LITIGATION                                           (consolidated with
                                                              3:18:CV:1882-GPC-BGS)
 20
                                                     DEFENDANTS’ ANSWER AND
 21                                                  AFFIRMATIVE DEFENSES TO
 22
                                                     COMPLAINT

 23                                                  JURY TRIAL DEMANDED

 24

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 28
                                                                      ANSWER TO COMPLAINT
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  1                     DEFENDANTS’ ANSWER TO COMPLAINT
  2         Pursuant to Federal Rule of Civil Procedure 12, defendants Big City Liquor,
  3   Servall Market Inc., Cardiff Gas, Inc., Hillcrest Smoke Shop, Ban & Rami Inc. dba
  4   Magic Market, Point Loma Liquor, Inc., Kalyana, Inc. dba Farmers Liquor Store,
  5   Little Brown Jug Liquor, HH Eagles Market, Bel Air Market, Inc., F&F Food
  6   Bargain, Inc. dba Food Bargain Market, Sunset Mini Mart, Inc., Midway Cigars &
  7   Smoke Shop, Midway M3, Inc. dba Shell Gas Station, Greene Cat Liquors, and
  8   Criscola’s Liquor Store (collectively, “Defendants”) state as follows for their
  9   Answer and Affirmative Defenses to the Complaint:
 10         1.     The following responses are made only with respect to each of the
 11   Defendants. Accordingly, where an allegation in the Complaint is made against
 12   “Defendants” generally, Defendants admit or deny that allegation only as to
 13   themselves. They lack sufficient knowledge or information to form a belief as to
 14   the truth of such allegations as toward each of the other Defendants or the “Retailer
 15   Defendants” referenced in the Complaint and accordingly deny them on that basis.
 16         2.     Pursuant to Rule 8(b)(5), Defendants lack knowledge or information
 17   sufficient to form a belief about the truth of the allegations set forth in the following
 18   paragraphs of the Complaint, and accordingly deny them: 1, 4, 5, 12, 14-19, 21-23,
 19   25-26, 29, 31-34, 37-38, 40-43, 45-46, 48, 52, 55-56, 58-70, 72-74, 77, 81-85, 87-
 20   89, 91-92, 95, 97-100, 103-104, 106-109, 111-112, 114, 118, 121-122, 124-131,
 21   143, 151.
 22         3.     Pursuant to Rule 8(b)(3), Midway M3, Inc. admits to the allegations
 23   set forth in the following paragraphs of the Complaint: 13, 20.
 24         4.     Pursuant to Rule 8(b)(3), Kalyana, Inc. admits to the allegations set
 25   forth in the following paragraphs of the Complaint: 13, 24.
 26         5.     Pursuant to Rule 8(b)(3), Big City Liquor admits to the allegations set
 27   forth in the following paragraphs of the Complaint: 13, 27.
 28
                                                                         ANSWER TO COMPLAINT
                                                  1                  CASE NO. 3:18-CV-840-GPC-BGS
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  1         6.     Pursuant to Rule 8(b)(3), HH Eagles Market admits to the allegations
  2   set forth in the following paragraphs of the Complaint: 13, 28.
  3         7.     Pursuant to Rule 8(b)(3), Little Brown Jug Liquor admits to the
  4   allegations set forth in the following paragraphs of the Complaint: 13, 30.
  5         8.     Pursuant to Rule 8(b)(3), Midway Cigars & Smoke Shop admits to the
  6   allegations set forth in the following paragraphs of the Complaint: 13, 35.
  7         9.     Pursuant to Rule 8(b)(3), Point Loma Liquor, Inc. admits to the
  8   allegations set forth in the following paragraphs of the Complaint: 13, 36.
  9         10.    Pursuant to Rule 8(b)(3), Sunset Mini Mart, Inc. admits to the
 10   allegations set forth in the following paragraphs of the Complaint: 13, 39.
 11         11.    Pursuant to Rule 8(b)(3), Servall Market Inc. admits to the allegations
 12   set forth in the following paragraphs of the Complaint: 13, 44.
 13         12.    Pursuant to Rule 8(b)(3), Hillcrest Smoke Shop admits to the
 14   allegations set forth in the following paragraphs of the Complaint: 13, 47.
 15         13.    Pursuant to Rule 8(b)(3), Ban & Rami Inc. dba Magic Market admits
 16   to the allegations set forth in the following paragraphs of the Complaint: 13, 49.
 17         14.    Pursuant to Rule 8(b)(3), Criscola’s Liquor Store admits to the
 18   allegations set forth in the following paragraphs of the Complaint: 13, 50.
 19         15.    Pursuant to Rule 8(b)(3), F&F Food Bargain, Inc. dba Food Bargain
 20   Market admits to the allegations set forth in the following paragraphs of the
 21   Complaint: 13, 51.
 22         16.    Pursuant to Rule 8(b)(3), Greene Cat Liquors admits to the allegations
 23   set forth in the following paragraphs of the Complaint: 13, 53.
 24         17.    Pursuant to Rule 8(b)(3), Bel Air Market, Inc. admits to the allegations
 25   set forth in the following paragraphs of the Complaint: 13, 54.
 26         18.    Pursuant to Rule 8(b)(3), Cardiff Gas, Inc. admits to the allegations set
 27   forth in the following paragraphs of the Complaint: 13, 57.
 28
                                                                          OPPOSITION TO MTD
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  1         19.    Pursuant to Rule 8(b)(3), Defendants deny the allegations set forth in
  2   the following paragraphs of the Complaint: 3, 6-9, 71, 75-76, 78-80, 134-139, 142,
  3   144-149, 152-160.
  4         20.    Responding to paragraph 2 of the Complaint, Defendants admit that
  5   they received a demand letter from the Outlaw Enterprise, but lack knowledge or
  6   information sufficient to form a belief about the truth of the remaining allegations
  7   in that paragraph, and accordingly deny them.
  8         21.    Responding to paragraph 86 of the Complaint, Midway M3, Inc.
  9   admits that it does business at the address alleged, but its investigation is just
 10   beginning, so at this time it lacks knowledge or information sufficient to form a
 11   belief as to whether it in fact offered for sale each of the products alleged.
 12         22.    Responding to paragraph 90 of the Complaint, Kalyana, Inc. dba
 13   Farmers Liquor Store admits that it does business at the address alleged, but its
 14   investigation is just beginning, so at this time it lacks knowledge or information
 15   sufficient to form a belief as to whether it in fact offered for sale each of the
 16   products alleged.
 17         23.    Responding to paragraph 93 of the Complaint, Big City Liquor admits
 18   that it does business at the address alleged, but its investigation is just beginning, so
 19   at this time it lacks knowledge or information sufficient to form a belief as to
 20   whether it in fact offered for sale each of the products alleged.
 21         24.    Responding to paragraph 94 of the Complaint, HH Eagles Market
 22   admits that it does business at the address alleged, but its investigation is just
 23   beginning, so at this time it lacks knowledge or information sufficient to form a
 24   belief as to whether it in fact offered for sale each of the products alleged.
 25         25.    Responding to paragraph 96 of the Complaint, Little Brown Jug admits
 26   that it does business at the address alleged, but its investigation is just beginning, so
 27   at this time it lacks knowledge or information sufficient to form a belief as to
 28   whether it in fact offered for sale each of the products alleged.
                                                                             OPPOSITION TO MTD
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  1         26.    Responding to paragraph 101 of the Complaint, Midway Cigars &
  2   Smoke Shop admits that it does business at the address alleged, but its investigation
  3   is just beginning, so at this time it lacks knowledge or information sufficient to
  4   form a belief as to whether it in fact offered for sale each of the products alleged.
  5         27.    Responding to paragraph 102 of the Complaint, Point Loma Liquor,
  6   Inc. admits that it does business at the address alleged, but its investigation is just
  7   beginning, so at this time it lacks knowledge or information sufficient to form a
  8   belief as to whether it in fact offered for sale each of the products alleged.
  9         28.    Responding to paragraph 105 of the Complaint, Sunset Mini Mart, Inc.
 10   admits that it does business at the address alleged, but its investigation is just
 11   beginning, so at this time it lacks knowledge or information sufficient to form a
 12   belief as to whether it in fact offered for sale each of the products alleged.
 13         29.    Responding to paragraph 110 of the Complaint, Servall Market, Inc.
 14   admits that it does business at the address alleged, but its investigation is just
 15   beginning, so at this time it lacks knowledge or information sufficient to form a
 16   belief as to whether it in fact offered for sale each of the products alleged.
 17         30.    Responding to paragraph 113 of the Complaint, Hillcrest Smoke Shop
 18   admits that it does business at the address alleged, but its investigation is just
 19   beginning, so at this time it lacks knowledge or information sufficient to form a
 20   belief as to whether it in fact offered for sale each of the products alleged.
 21         31.    Responding to paragraph 115 of the Complaint, Ban & Rami Inc. dba
 22   Magic Market admits that it does business at the address alleged, but its
 23   investigation is just beginning, so at this time it lacks knowledge or information
 24   sufficient to form a belief as to whether it in fact offered for sale each of the
 25   products alleged.
 26         32.    Responding to paragraph 116 of the Complaint, Criscola’s Liquor
 27   Store admits that it does business at the address alleged, but its investigation is just
 28   beginning, so at this time it lacks knowledge or information sufficient to form a
                                                                             OPPOSITION TO MTD
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  1   belief as to whether it in fact offered for sale each of the products alleged.
  2         33.    Responding to paragraph 117 of the Complaint, F&F Food Bargain,
  3   Inc. dba Food Bargain Market admits that it does business at the address alleged,
  4   but its investigation is just beginning, so at this time it lacks knowledge or
  5   information sufficient to form a belief as to whether it in fact offered for sale each
  6   of the products alleged.
  7         34.    Responding to paragraph 119 of the Complaint, Greene Cat Liquors
  8   admits that it does business at the address alleged, but its investigation is just
  9   beginning, so at this time it lacks knowledge or information sufficient to form a
 10   belief as to whether it in fact offered for sale each of the products alleged.
 11         35.    Responding to paragraph 120 of the Complaint, Bel Air Market admits
 12   that it does business at the address alleged, but its investigation is just beginning, so
 13   at this time it lacks knowledge or information sufficient to form a belief as to
 14   whether it in fact offered for sale each of the products alleged.
 15         36.    Responding to paragraph 123 of the Complaint, Cardiff Gas, Inc.
 16   admits that it does business at the address alleged, but its investigation is just
 17   beginning, so at this time it lacks knowledge or information sufficient to form a
 18   belief as to whether it in fact offered for sale each of the products alleged.
 19         37.    The following paragraphs of the complaint state legal conclusions and
 20   assertions to which no response is required: 10-11, 132-133, 140-141, 150.
 21                               AFFIRMATIVE DEFENSES
 22         Defendants allege the following affirmative defenses to the Complaint. By
 23   designating the following as affirmative defenses, Defendants do not admit any of
 24   the allegations in the Complaint, or waive or limit any defenses which are or may
 25   be raised by their denials, allegations and averments set forth herein. Defendants
 26   have insufficient knowledge or information upon which they can form a belief as to
 27   whether they may have additional, as yet unknown and unstated, affirmative
 28   defenses. Defendants reserve the right to amend their answer to assert such
                                                                             OPPOSITION TO MTD
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  1   additional affirmative defenses in the event that discovery indicates that additional
  2   affirmative defenses are appropriate.
  3                                  First Affirmative Defense
                             (Failure to State a Claim for Relief)
  4
            1.     Outlaw has failed to state claims upon which relief can be granted.
  5

  6
                                  Second Affirmative Defense
                                       (Unclean Hands)
  7
            2.     Some or all Outlaw’s claims are barred by the doctrine of unclean
  8
      hands.
  9                               Third Affirmative Defense
                                         (Causation)
 10
            3.     Outlaw’s claims against Defendants are barred because its damages, if
 11
      any, were not caused by Defendants.
 12
                                 Fourth Affirmative Defense
 13                             (Failure to Mitigate Damages)
 14         4.     Outlaw’s claims are barred by its failure to mitigate damages.
 15                                Fifth Affirmative Defense
                                         (No Damages)
 16
            5.     Without admitting that the Complaint states a claim in the first place,
 17
      there has been no damage to Outlaw in any amount, and the relief prayed for in the
 18
      Complaint therefore cannot be granted.
 19
                                   Sixth Affirmative Defense
 20                                   (Equitable Estoppel)
 21         6.     Outlaw’s claims are barred by the doctrine of equitable estoppel.
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  1
        Dated: December 26, 2018               GAW | POE LLP
  2

  3
                                               By:
  4                                                  Mark Poe
  5                                            Attorneys for Roma Mikha, Inc., Big
                                               City Liquor, Servall Market Inc.,
  6                                            Cardiff Gas, Inc., Hillcrest Smoke
                                               Shop, Ban & Rami Inc. dba Magic
  7                                            Market, Point Loma Liquor, Inc.,
                                               Kalyana, Inc. dba Farmers Liquor
  8                                            Store, Little Brown Jug Liquor, HH
                                               Eagles Market, Bel Air Market, F&F
  9                                            Food Bargain, Inc. dba Food Bargain
                                               Market, Sunset Mini Mart, Inc.,
 10                                            Midway Cigars & Smoke Shop,
                                               Midway M3, Inc. dba Shell Gas
 11                                            Station, Greene Cat Liquors, Criscola’s
                                               Liquor Store; and Third-Party
 12                                            Plaintiffs NMRM, Inc. and Skyline
                                               Market, Inc.
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  1                            CERTIFICATE OF SERVICE
  2         I HEREBY CERTIFY that on December 26, 2018, I filed the following
  3   documents with the Clerk of the Court using CM/ECF. I also certify that the
  4   foregoing document is being served this day either by Notice of Electronic Filing
  5   generated by CM/ECF or by U.S. mail on all counsel of record entitled to receive
  6   service.
  7
        DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
  8
        COMPLAINT
  9

 10

 11
                                                    GAW | POE LLP
 12

 13
                                                    By:
 14                                                       Mark Poe
 15                                                       Attorneys for Roma Mikha, Inc.,
                                                          Big City Liquor, Servall Market
 16                                                       Inc., Cardiff Gas, Inc., Hillcrest
                                                          Smoke Shop, Ban & Rami Inc.
 17                                                       dba Magic Market, Point Loma
                                                          Liquor, Inc., Kalyana, Inc. dba
 18                                                       Farmers Liquor Store, Little
                                                          Brown Jug Liquor, HH Eagles
 19                                                       Market, Bel Air Market, F&F
                                                          Food Bargain, Inc. dba Food
 20                                                       Bargain Market, Sunset Mini
                                                          Mart, Inc., Midway Cigars &
 21                                                       Smoke Shop, Midway M3, Inc.
                                                          dba Shell Gas Station, Greene Cat
 22                                                       Liquors, Criscola’s Liquor Store;
                                                          and Third-Party Plaintiffs
 23                                                       NMRM, Inc. and Skyline Market,
                                                          Inc.
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                                                1                            CERT. OF SERVICE
